Case 2:97-cr-20120-.]PI\/| Document 36 Filed 06/24/05 Page 1 of 2 Page|D 44

IN THE UNITED sTATES DISTRICT coURT " z
FOR THE wESTERN DISTRICT oF TENNESSEE UE\MREZQ rv, ,.
wESTERN DIvIsION - -»¢; J,

UNITED STATES OF AMERICA

Plaintiff,

Criminal No .6)1- 2017_“1\111

(§O/-Day Continuance)

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NAP°»€~'>’ f;€`t')` 1

 

 

 

Defendant(s).

 

REPORT ON FUGITIVE STATUS AND RESETTING

 

As indicated by the signature of counsel for the United
Statesr through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(s). A follow-up report
on efforts to bring the above-referenced fu itive defendant(s)

_ _ ul 22-
before the Court will be made on Fridav, . 2005, at

10:30 a.m.

so oRDERED this 24th day of June, 2005.

WMQQ

JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

  
    
   

BEE;N* ,“;;-\-\‘-¢»'
and!or 32(b) FRCrP on

   

UNITED sTATE DRISTIC CoUR - W'"ERNT D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:97-CR-20120 Was distributed by faX, mail, or direct printing on
June 29, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

